UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF NEW HAMPSHIRE

CARL ALEXANDER COHEN,
Plaintiff,

Vv.
Docket No. 1:20-CV-00943

BOSTON SCIENTIFIC CORPORATION, REPUBLIC

SURGICAL, INC., MEDWORX, INC., ALEXANDRE

R. MOUCHATI AND DOES 1-20, INCLUSIVE, AND

JOHN DOE ENTITIES 11-20 INCLUSIVE,

Defendants.

DEFENDANT ALEX MOUCHAT?’S FIRST SET OF
INTERROGATORIES TO PLAINTIFF

These interrogatories are propounded in accordance with Federal Court Rule 23. You must answer each
question separately and fully in writing and under oath. You must return the original and one copy of your
answers within thirty (30) days of the date you receive them to the party or counsel who served them upon you.
Hf you object to any question, you must note your objection and state the reason therefore. If you fail to return
your answers within thirty (30) days, the party who served them upon you may inform the court, and the court
Shall make such orders as justice requires, including the entry of a conditional default against you.

The following provisions of Rule 23 should also be obeyed in answering the questions:

“Each question shall be answered separately, fully and responsibly
in the space following the question, or, if insufficient, on additional
pages or retyped pages repeating each interrogatory in full followed
by the answer, in such manner that the final document shall have
each interrogatory immediately succeeded by the separate answer.”

“Tf, in any interrogatory, a copy of a paper or document is requested,
the copy shall be annexed to the answer, if the copy is a report of an
expert witness or a treating physician, it shall be the exact copy of
the entire report or reports rendered by him, and the answering party
shall certify that the existence of other reports of that expert, either
written or oral, are unknown to him and, if such become later known
or available, he shall serve them promptly on the propounding party
but in any case not later than ten days prior to the pre-trial settlement
conference.”

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“If a party, who has furnished answers to interrogatories, thereafter obtains information
which renders such answers incomplete or inaccurate, amended answers shall be served in
accordance with Rule 21 (g).”

INTERROGATORIES

Interrogatory No. 1:

Please identify yourself fully, giving your name, date of birth, social security number, residence,
business address and occupation, occupation as of the date of the occurrence or events alleged in
your Complaint, and the names and dates of birth of any and all children.

Interrogatory No. 2:

Please state in full and complete detail the reason or reasons why you first sought treatment for the
problem for which you were attending as referred to in your Complaint.

Interrogatory No. 3:

Please describe in detail all aspects of your relationship with Alex Mouchati or his agents,
indicating the date of commencement, the nature and extent of the relationship prior to the alleged
occurrence or events, and the date and circumstances of the termination of the relationship.

Interrogatory No. 4:

Please list by date and time of day each occasion on which you were in Alex Mouchati’s presence,
and please indicate as to each occasion:

(a) the length of time Alex Mouchati, or his agent, was with you;

(b) the substance of any conversation you had with Alex Mouchati or his agents, with
regard to your medical condition or your past or planned medical treatment;

(c) the substance of any conversation between Alex Mouchati or his agent, and any
other person, giving the identity of such other person;

(d) the nature and scope of the examination, consultation or test that was performed
and the identity of the person who performed each portion thereof; and

(e) the nature and duration of each treatment, consultation or test, including everything
that Alex Mouchati or his agents, did for you or to you.

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Interrogatory No. 5:

If you received any treatment, consultation or test of any kind by Alex Mouchati or his agents
which you claim aggravated your medical condition or caused your injury, damage or difficulty,
please state:

(a) each and every date of any such treatment, consultation or test;

(b) the name and description of the person giving any such treatment, consultation or
test;

(c) a full and complete description of any such treatments, consultation or test; and

(d) a full and complete description of the nature and extent of the injury, damage or
difficulty caused to you by any such treatment, consultation or test.

Interrogatory No. 6:

If, on any occasion from the time Alex Mouchati or his agents first assisted in the operation of the
GreenLight XPS Laser, as alleged in your Complaint, you or any person were given any advice or
instructions by Alex Mouchati or his agents or any other medical professional person, please state
as to each such occasion:

(a) the name, address, and professional relationship to you of the person giving such
advice or instructions;

(b) the date and time of day;

(c) the nature and scope of advice or instructions;

(d) the degree to which you followed the advice and instructions; and
(e) whether the advice or instructions were given orally or in writing.

Interrogatory No. 7:

Please describe any statement by Alex Mouchati or his agents relating in any way to the subject
matter of your Complaint, and please provide the following information with regard to each such
statement:

(a) the identity, including name and address of the person who was present;
(b) the date and time of day; and

(c) the substance of the conversation, including what you said and what all other
persons present said.

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Interrogatory No. 8:

If you claim or contend that Alex Mouchati or his agents, engaged in any action or activity which
caused or contributed to the damages which you are making claim in your Complaint, please state:

(a) a full and complete description of such action or activity and the person acting or
failing to act;

(b) a full explanation of how and in what manner each such action or activity caused
or contributed to cause the damages which you are claiming;

(c) all facts upon which you base your contention that Mr. Mouchati ws negligent,
breached any warranty, is strictly liable, or violated any consumer protection law.

Interrogatory No. 9:

Please state in full and complete detail every fact of the examination, care, treatment, consultation
or tests rendered by Alex Mouchati or his agents which you allege was negligent in any way,
including in your answer everything that you contend Alex Mouchati or his agents should have
done and failed to carry out and everything that you contend the agents, servants, or employees of
the defendant should have done and failed to carry out.

Interrogatory No. 10:

Please describe in full and complete detail the chronological order of each and every change in
your physical and mental status from the time Alex Mouchati or his agents first participated in
your care, as described in your Complaint.

Interrogatory No. 11:

With reference to any prior injury, illness, condition or disability from which you were suffering
when you first presented for a trans-urethral resection of the prostate as alleged in your Complaint,
please state:

(a) approximately how long you suffered from it;

(b) _ the nature and extent of all treatment and examinations received for it prior to the
time of your July 27, 2017 surgery;

(c) the names and addresses of persons who treated you for his condition; and

(d) the dates and places where you received any treatment or examination for it.

Interrogatory No. 12:

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Please give an account, itemized as fully and carefully as possible, of the economic losses which
you or your legal representatives on your behalf are claiming were incurred as a result of the
occurrence or events set forth in your Complaint, stating those losses or expenses which are
attributable to medical expenses, replacement services and loss of earnings or profits, and state the
amount of any such lien.

Interrogatory No. 13:

If any statement has been taken in any form, including written, electronic recording or otherwise,
from the plaintiff concerning the allegations contained in your Complaint or regarding the
involvement of Alex Mouchati or his agents in your care, please set forth:

(a) the name and address of the person, firm, or corporation on whose behalf or for
whose benefit any such statement was obtained, secured or received;

(b) the name and address of the person from whom any such statement was obtained,
secured or received;

(c) the date of any such statement;
(d) the substance of any such statement;

(e) the names and addresses of the person, firm, or corporation now having possession
or custody of any such statement; and

(f) where and when any such statement may be inspected by counsel for Alex
Mouchati

Interrogatory No. 14:

For each and every person whom you expect to call as an expert witness at trial, kindly state:

(a) the identity of each expert, giving his/her name, address, specialty and professional
education and experience;

(b) the subject matter on which each such expert is expected to testify;

(c) the substance of the facts and opinions to which each such expert is expected to
testify; and ,

(d) a summary of the grounds of each such opinion.

Interrogatory No. 15:

Please describe fully and in complete detail all illnesses, injuries, conditions, diseases or operations
which you had:

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(a)
(b)

(c)

(d)

within fifteen (15) years prior to the date of occurrence alleged in your Complaint;

at any time since the date of the occurrence as set forth in your Complaint, including
dates upon which each was experienced;

the treatment received from any such illness, injuries or diseases and the dates
thereof; and

the name and address of each person and/or facility from whom you received such
treatment described in part (c) of this interrogatory.

Interrogatory No. 16:

Please state whether you received medical care and/or treatment from any medical care provider
from 1990 through the present, setting forth the following:

(a)
(b)

(c)

the dates of said treatment;

the name and address of the medical care provider for each said care or treatment;

the general nature of the care and treatment rendered.

Interrogatory No. 18:

If you have a policy of insurance which provides health benefits or income disability coverage for
the subject medical condition, please state as to any such policy;

(a)
(b)
(c)
(d)

names of the parties to this policy including addresses;
date(s) of issuance;
date(s) of termination; and

whether or not you are willing to renew and/or continue the policy of insurance
during the pendency of this action.

Interrogatory No. 19:

Please identify your employment on the date of the alleged incident by stating the wages, salary
or business profits you were receiving and the name and address of your employer, and, if you
were attending school at said time, kindly set forth the name and address of said school.

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Interrogatory No. 20:

Please state:

(a) When you first knew or suspected that you were harmed by any person’s conduct
relating to medical care for the subject medical condition(s);

(b) A complete description of all investigation performed by you or on your behalf
after acquiring such knowledge or having such a suspicion; and

(c) Identify all documents that establish that the acts or omissions of any defendant
caused your damages.

Interrogatory No. 21:

If you have made any other claims for personal injuries arising out of the medical care referred to
in your Complaint against any other person or corporation, please identify the persons or
corporations against whom you made claims, the court and docket number of any lawsuit filed in
connection with any such claim, and the amount of any settlement of any such claim.

Interrogatory No. 22

With respect to each and every person, including but not limited to witnesses, who you are aware
has knowledge of any discoverable matter, including the defendant’s liability, relating to this
action, please set forth:

(a) their names and residential addresses;

(b) their occupation, employer and business address;

(c) a full and complete description of the discoverable matter which each such person
has knowledge.

INTERROGATORY NO. 23

Please identify any government statute, ordinance, regulation or requirement which
regulates the design, manufacture, testing, use, advertising or sale, or safety of the subject
product(s), or similar product, and specify how the product failed to comply with any such
requirement, if so alleged.

INTERROGATORY NO. 24

Please identify any industry or trade standards or practices concerning the government
statute, ordinance, regulation or requirement which regulates the design, manufacture, testing,

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advertising or sale, or safety of the product, or similar product, and specify how the product failed
to comply with any such requirement, if so alleged.

Respectfully submitted,
The Defendant,
By Its Attorneys,

MORRISON MAHONEY LLP

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CERTIFICATE OF SERVICE

I, William Joseph Flanagan, attorney for the defendants, hereby certify that I have this day
served the foregoing Defendant’s First Set of Interrogatories to Plaintiff to all counsel of record
in this action by mailing same, by first class mail, postage prepaid to:

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Dated: tL vfot Attomey: 4 if Leite te: Ze
ce WillfAm Joseph Flafagan

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